UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - x

UNITED STATES OF AMERICA,          :

          - v. -                   :    S1 05 Cr. 1115 (WHP)

JEREMY JONES,                      :

                Defendant.         :

- - - - - - - - - - - - - - - x

                GOVERNMENT’S SENTENCING SUBMISSION

     The Government respectfully submits the attached proposed

order of forfeiture in relation to the sentencing of defendant

Jeremy Jones, scheduled for May 2, 2008.


Dated: New York, New York
       April 29, 2008
                                   Respectfully submitted,

                                   MICHAEL J. GARCIA
                                   United States Attorney
                                   Southern District of New York


                             By:    s/Steven D. Feldman
                                   Steven D. Feldman
                                   Assistant United States Attorney
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